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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC,
       Plaintiff,
                                                             Civil Action No.
                        v.
                                                            1:19-cv-5523-SDG
SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,
       Defendants.

                             SCHEDULING ORDER

      After reviewing the Joint Preliminary Report and Discovery Plan completed

and filed by the parties, the Court orders that the time limits for adding parties,

amending the pleadings, filing motions, completing discovery, and discussing

settlement are as set out in the Federal Rules of Civil Procedure and the Local Rules

of this Court except that discovery shall be on an eight-month track and end on

October 8, 2021.

      SO ORDERED this the 25th day of January 2021.




                                                     Steven D. Grimberg
                                               United States District Court Judge
